
*868OPINION.
Littleton:
The Board is of the opinion that the Commissioner did not err in denying the petitioner the right to amortize the amount of $25,000 over the five-year lease to' the Sinclair Oil Co.
Although this amount probably would not have been expended in connection with the construction of the building had petitioner been able to complete the building by April 1, 1920, and the fact is that this expenditure was made necessary by reason of changes in the *869plans of the construction of the building to suit the special needs of lessee in order to obtain the consent of the lessee to the completion of the building at a date subsequent to that originally agieed upon, the amount was none the less part of the cost of the building and can not be deducted from gross income over the five-year term of the lease. McEwen Lumber Co. 1 B. T. A. 73; Yost &amp; Herrell, 2 B. T. A. 745; Louis Allen, 2 B. T. A. 1313; Blanche Burbank, 3 B. T. A. 1118; Popular Dry Goods Co., 6 B. T. A. 78; Joseph W. Woods &amp; Sons Co., 8 B. T. A. 705.

Judgment will be entered for the respondent.

